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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

     In re:
                                                                           Chapter 11
     BOY SCOUTS OF AMERICA AND                                             Case No. 20-10343 (LSS)
     DELAWARE BSA, LLC,1
                                                                           (Jointly Administered)
                             Debtors.

                    NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                 HEARING ON OCTOBER 5, 2021,2 AT 2:30 P.M. EASTERN TIME

     This remote hearing will be conducted entirely over Zoom and requires all participants to register in
                  advance. Please register by October 5, 2021, at 1:30 p.m. Eastern Time.

                           COURTCALL WILL NOT BE USED FOR THIS HEARING.

                               Please use the following link to register for this hearing:

        https://debuscourts.zoomgov.com/meeting/register/vJItc-igrjgtGW6cE6mUjUEIWFTfoFINNtA

         After registering your appearance by Zoom, you will receive a confirmation email containing
                                    information about joining the hearing.

                                                Topic: Boy Scouts of America

                        Time: October 5, 2021, at 2:30 p.m. Eastern Time (US and Canada)

MATTERS GOING FORWARD

1.        Debtors’ Motion For Entry of Order (I) Scheduling Certain Dates and Deadlines in
          Connection with Confirmation of the Debtors Plan of Reorganization, (II) Establishing
          Certain Protocols, and (III) Granting Related Relief (D.I. 2618, filed 4/15/21).

          Objection Deadline: May 12, 2021, at 4:00 p.m. (ET).

          Responses Received:

          a)       Informal comments from the Tort Claimants’ Committee;



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      The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      Hearing continued from September 29, 2021.
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b)    Limited Objection of the AIG Companies to Debtors’ Motion for Entry of an Order
      (I) Scheduling Certain Dates and Deadlines in Connection with Confirmation of the
      Debtors’ Plan of Reorganization, (II) Establishing Certain Procedures and, (III)
      Granting Related Relief (D.I. 3708, filed 5/12/21);

c)    Zurich Insurers’ Objections to Debtors’ Proposed Confirmation Schedule (D.I.
      3747, filed 5/12/21);

d)    The Allianz Insurers’ Joinder to the Limited Objection of the AIG Companies to
      Debtors’ Motion for Entry of an Order (I) Scheduling Certain Dates and Deadlines
      in Connection with Confirmation of the Debtors’ Plan of Reorganization, (II)
      Establishing Certain Procedures and, (III) Granting Related Relief (D.I. 3771, filed
      5/12/21);

e)    Joinder of Clarendon National Insurance Company, as Successor by Merger to
      Clarendon America Insurance Company, In the Limited Objection of the AIG
      Companies to Debtors’ Motion for Entry of an Order (I) Scheduling Certain Dates
      and Deadlines in Connection with Confirmation of the Debtors Plan of
      Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related
      Relief (D.I. 3739, filed 5/12/21);

f)    Response of Liberty Mutual Insurance Company to the Debtors’ Motion for Entry
      of an Order (I) Scheduling Certain Dates and Deadlines in Connection with
      Confirmation of the Debtors’ Plan of Reorganization, (II) Establishing Certain
      Protocols, and (III) Granting Related Relief and Limited Joinder (D.I. 3794, filed
      5/12/21);

g)    Great American’s Objection and Joinder in Objections to Debtors’ Motion for Entry
      of Order (I) Scheduling Certain Dates and Deadlines in Connection with
      Confirmation of the Debtors’ Plan of Reorganization, (II) Establishing Certain
      Protocols, and (III) Granting Related Relief (D.I. 3799, filed 5/12/21);

h)    Joinder by Travelers Casualty and Surety Company, Inc. (FKA Aetna Casualty &
      Surety Company), St. Paul Surplus Line Insurance Company to Limited Objection
      of the AIG Companies to Debtors’ Motion for Entry of an Order (I) Scheduling
      Certain Dates and Deadlines in Connection with Confirmation of the Debtors Plan
      of Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related
      Relief (D.I. 3806, filed 5/12/21);

i)    Objection of the Official Committee of Tort Claimants, the Coalition of Abused
      Scouts for Justice, and the Future Claimants’ Representative to the Debtors’ Motion
      for Entry of Order (I) Scheduling Certain Dates and Deadlines in Connection with
      Confirmation of the Debtors’ Plan of Reorganization, (II) Establishing Certain
      Protocols, and (III) Granting Related Relief (D.I. 3816, filed 5/12/21);

j)    Joinder of Continental Insurance Company to Certain Insurers’ Objections to
      Debtors’ Motion for Entry of an Order (I) Scheduling Certain Dates and Deadlines
      in Connection with Confirmation of the Debtors’ Plan of Reorganization, (II)
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       Establishing Certain Protocols, and (III) Granting Related Relief (D.I. 3855, filed
       5/12/21);

k)     Certain Insurers’ Opposition to Debtors’ Motion for Entry of an Order (I)
       Scheduling Certain Dates and Deadlines in Connection with Confirmation of the
       Debtors’ Plan of Reorganization, (II) Establishing Certain Protocols, and (III)
       Granting Related Relief (D.I. 3859, filed 5/12/21);

l)     Joinder of General Star Indemnity Company to Limited Objection of the AIG
       Companies to Debtors’ Motion for Entry of an Order (I) Scheduling Certain Dates
       and Deadlines in Connection with Confirmation of the Debtors’ Plan of
       Reorganization, (II) Establishing Certain Procedures and, (III) Granting Related
       Relief (D.I. 3928, filed 5/13/21); and

m)     Certain Excess Insurers’ Objections to the Debtors’ Proposed Confirmation
       Schedule (D.I. 6060, filed 8/17/21).

Related Pleadings:

a)     Amended Notice of Hearing of the Debtors’ Motion For Entry of Order (I)
       Scheduling Certain Dates and Deadlines in Connection with Confirmation of the
       Debtors Plan of Reorganization, (II) Establishing Certain Protocols, and (III)
       Granting Related Relief (D.I. 2655, filed 4/21/21); and

b)     Debtors’ Omnibus Reply to Objection to Motion For Entry of Order (I) Scheduling
       Certain Dates and Deadlines in Connection with Confirmation of the Debtors Plan
       of Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related
       Relief (D.I. 4104, filed 5/16/21);

c)     Notice of Filing of Revised Proposed Confirmation Scheduling Order (D.I. 5489,
       filed 7/2/21);

d)     Notice of Filing of Revised Proposed Confirmation Scheduling Order (D.I. 6216,
       filed 9/15/21);

e)     Notice of Filing of Revised Proposed Confirmation Scheduling Order (D.I. 6320,
       filed 9/21/21);

f)     Certain Excess Insurers’ Revised Proposed Confirmation Schedule (D.I. 6367, filed
       9/27/21);

g)     Notice of Filing of Tort Claimants’ Committee’s Proposed Confirmation Schedule
       (D.I. 6375, filed 9/27/21);

h)     Notice of Filing of Tort Claimants’ Committee’s Proposed Confirmation
       Scheduling Order (D.I. 6384, filed 9/28/21);



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i)     Notice of Filing of Revised Proposed Solicitation Procedures Order (D.I. 6386,
       filed 9/28/21);

j)     Notice of Filing of Revised Proposed Solicitation Procedures Order (D.I. 6420,
       filed 9/29/21); and

k)     Notice of Filing of Revised Proposed Solicitation Procedures Order (D.I. 6433,
       filed 9/30/21).

Status: This matter is going forward.




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                              ATTORNEYS FOR THE DEBTORS AND
                              DEBTORS IN POSSESSION




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